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                                                                                April 13, 2022
VIA ECF

Honorable Paul A. Englemayer
United States District Judge
Southern District of New York
500 Pearl Street
New York, New York 10007

        Re:    United States v. Ari Teman, 20-1920

Dear Judge Englemayer,

        I represent Ari Teman in the above-captioned appeal before the Court of Appeals for the

Second Circuit. A copy of my Notice of Appearance in the appeal is attached as Exhibit A

hereto. Mr. Teman has indicated that there are a certain number of sealed transcripts from the

trial court proceedings that may bear on issues of judicial bias and/or recusal. I would

respectfully request that your Honor authorize the release of these transcripts to me as soon as

possible so that I can assess their relevance.

        In addition, I would respectfully request that your Honor disclose the Court’s total

Berkshire Hathaway holdings. Bank of America was the only alleged economic victim in Mr.

Teman’s trial and constitutes nearly 15% of the Berkshire Hathaway portfolio. According to

public reports, your Honor disclosed holdings of $5.2 million in Berkshire Hathaway stock in

2011.

https://legaltimes.typepad.com/blt/2011/02/new-york-judicial-nominees-report-income.html.

Berkshire Hathaway’s value has increased substantially since 2011 and the Court’s most recent
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available financial disclosure lists Berkshire Hathaway holdings in a range of $5-$25 million.

https://www.courtlistener.com/person/997/disclosure/29788/paul-adam-engelmayer/. The Court’s

interest in Bank of America thus appears significant.

       I thank your Honor for your courtesies in this matter.


                                                        Respectfully submitted,

                                                        _____________________________
                                                        Eden P. Quainton

cc: All counsel of record (via ECF)




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